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                                                         Monday, 01 October, 2018 02:11:47 PM
                                                                  Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS
                            ROCK ISLAND DIVISION

                                         )
                                         )
SNI SOLUTIONS, INC., an Illinois
                                         )
Corporation, and
                                         )    No. 18-cv-04090
NATURAL ALTERNATIVES, LLC, a             )
Kentucky Limited Liability Company,      )    Honorable Sara Darrow
      Plaintiffs,                        )
                                         )    Magistrate Judge Jonathan E.
      v.                                 )    Hawley
                                         )
UNIVAR USA, INC., a Washington           )
Corporation, and                         )
ROAD SOLUTIONS, INC., an Indiana         )
Corporation.                             )
                                         )
      Defendants.

DEFENDANT UNIVAR USA, INC.’S MEMORANDUM OF LAW IN SUPPORT OF ITS
       MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(3)
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       Defendant Univar USA, Inc. (“Univar”) respectfully moves to dismiss plaintiffs SNI

Solutions, Inc.’s (“SNI”) and Natural Alternatives, LLC’s (“Natural Alternatives,” and,

collectively with SNI, “Plaintiffs”) Complaint (Dkt. 1) pursuant to Federal Rule of Civil Procedure

12(b)(3) because venue is not proper in this District.

I.     INTRODUCTION

       In patent infringement actions, such as the current case, 28 U.S.C. § 1400(b) is “the sole

and exclusive provision controlling venue.” TC Heartland LLC v. Kraft Foods Grp. Brands LLC,

137 S.Ct. 1514, 1519 (2017); see also BillingNetwork Patent, Inc. v. Modernizing Med., Inc., 2017

WL 5146008, at *2 (N.D. Ill. Nov. 6, 2017). Section 1400(b) permits “any civil action for patent

infringement” to be brought only in the judicial district: (1) “where the defendant resides,” or (2)

“where the defendant has committed acts of infringement and has a regular and established place

of business.” 28 U.S.C. § 1400(b).

       Plaintiffs have not carried their burden of demonstrating that venue is proper in the Central

District of Illinois as to Univar under either prong of Section 1400(b). As to prong no. 1, Univar

does not “reside” in the Central District of Illinois. As to prong no. 2, Plaintiffs’ Complaint

nowhere alleges that Univar committed acts of infringement in this District. Because venue is not

proper in the Central District of Illinois, Plaintiffs’ claim against Univar should be dismissed.

II.    FACTUAL BACKGROUND RELEVANT TO THE PRESENT MOTION

       Plaintiffs brought a three-count Complaint against Defendants Univar and Road Solutions,

Inc. (“RSI”) alleging infringement and induced infringement of U.S. Patent No. 6,080,330 (the

“’330 Patent”). (Compl. at ¶¶ 1-3.) Under the Complaint heading “Jurisdiction and Venue,”

Plaintiffs allege, among other things, that “[t]his is a civil action arising primarily under the Patent

Act of 1953 codified in Title 35 of the United States Code §§ 100 et seq.” (Id. at ¶ 10.)



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        As alleged in Plaintiffs’ Complaint, Univar is a wholly-owned subsidiary, and the United

States operation, of a leading global chemical distributor. (Compl. at ¶¶ 26-27.) The Complaint

also correctly alleges that Univar is a corporation formed under the laws of the State of

Washington, with its commercial headquarters located at 3075 Highland Parkway, Suite 200,

Downers Grove, Illinois. (Id. at ¶ 6.)

        Paragraph 16 of the Complaint – in which Plaintiffs identify the alleged bases for venue in

the Central District of Illinois pursuant to 28 U.S.C. § 1400(b) – includes several Univar-specific

allegations. (Compl. at ¶ 16.) The entirety of Paragraph 16 states that:

        Venue is proper in this Court pursuant to 28 U.S.C. §1400(b) in that: Univar’s
        headquarters and acts of inducement to infringe occurred in this state; Univar
        maintains a regular and established place of business within this judicial district;
        Univar maintains its registered agent address in this district and therefore maintains
        a residence in this district under 735 ILCS 5/2-102(a) and RSI’s acts of
        infringement occurred in this state.

(Id.)

III.    ARGUMENT

        The plaintiff bears the burden of establishing that venue is proper under 28 U.S.C. §

1400(b).1 BillingNetwork Patent, 2017 WL 5146008, at *2. Plaintiffs have failed to demonstrate

that venue is proper in the Central District of Illinois as to Univar. For that reason, Univar

respectfully requests that the Court dismiss Plaintiffs’ claim against Univar.

        A.     Univar Does Not “Reside” in the Central District of Illinois.

        With respect to the first prong of 28 U.S.C. 1400(b), the TC Heartland Court made clear

that for purposes of a Section 1400(b) venue analysis, a domestic corporation “resides” only in its



1 Because the Supreme Court has ruled that 28 U.S.C. § 1400(b) is “the sole and exclusive
provision controlling venue” in patent infringement actions, Plaintiffs’ effort to establish venue in
this District pursuant to 28 U.S.C. § 1391(b) (Compl. at ¶ 15) fails. TC Heartland, 137 S.Ct. at
1519; BillingNetwork Patent, 2017 WL 5146008, at *2.


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State of incorporation. TC Heartland, 137 S.Ct. at 1520 (“the word ‘reside[nce]’ in § 1400(b) has

a particular meaning as applied to domestic corporations. It refers only to the State of

incorporation.”); see also BillingNetwork Patent, 2017 WL 5146008, at *2 (defendant “resides”

only in its State of incorporation for purposes of a venue analysis under 28 U.S.C. § 1400(b));

Shure, Inc. v. ClearOne, Inc., 2018 WL 3032851, at *1 (N.D. Ill. March 16, 2018) (same).

       Plaintiffs’ Complaint accurately alleges that Univar is a corporation formed under the laws

of the State of Washington. (Compl. at ¶ 6.) For this reason, Plaintiffs cannot establish that venue

is proper in this District based upon the first prong of Section 1400(b).

       B.      Plaintiff Does Not Allege that Univar Committed Acts of Infringement in the
               Central District of Illinois.

       To establish venue under the second prong of Section 1400(b), Plaintiffs carry the burden

of demonstrating that Univar has, within the Central District of Illinois, “committed acts of

infringement” and “has a regular and established place of business.” 28 U.S.C. § 1400(b). The

law is clear that a plaintiff relying upon the second prong of Section 1400(b) to establish venue

must demonstrate both that: (a) the defendant committed acts of infringement in the district and

(b) the defendant has a regular and established place of business in the district. TC Heartland, 137

S.Ct. at 1516-17; Shure, 2018 WL 3032851, at *1 (dismissing complaint for improper venue under

Section 1400(b)). Failure to adequately demonstrate either requirement mandates dismissal of a

plaintiff’s complaint. TC Heartland, 137 S.Ct. at 1516-17; Shure, 2018 WL 3032851, at *1.

       To be clear, Univar denies that it violated the ‘330 Patent in the Central District of Illinois,

or in any District. But with respect to the location of Univar’s purported acts of infringement,




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Plaintiffs’ Complaint alleges only that “Univar’s . . . acts of inducement to infringe occurred in

this state.” (Compl. at ¶ 16)2 (emphasis added).

         The Complaint fails to allege any Univar infringement in the Central District of Illinois.

Notably, it appears that Plaintiffs understand and appreciate the distinction between alleging that

certain Univar conduct “occurred in this state,” as opposed to alleging that certain conduct

occurred within the Central District of Illinois. Indeed, the very next clause of Paragraph 16 of

the Complaint alleges that “Univar maintains a regular and established place of business within

this judicial district.” (Id.) (emphasis added).

         Plaintiffs seemingly attempt to assert other bases to establish venue in this District pursuant

to 28 U.S.C. § 1400(b), but none of those allegations cures the fatal flaws in Plaintiffs’ Complaint.

For example, Plaintiffs allege that “Univar’s headquarters . . . [are] in this state.” (Compl. at ¶

16.) Although Plaintiffs accurately allege that Univar’s headquarters are located in Downers

Grove,     Illinois   –   which     is   not   within    the   Central    District   of   Illinois   (see

http://www.ilcd.uscourts.gov/sites/ilcd/files/New_District_Map_June_2015.pdf) – that fact is

irrelevant to this Court’s venue analysis and has no bearing on whether venue properly exists in

this District. 28 U.S.C. § 1400(b); TC Heartland, 137 S.Ct. at 1519; BillingNetwork Patent, 2017

WL 5146008, at *2.

         Plaintiffs also allege that “Univar maintains its registered agent in this district and therefore

maintains a residence in this district under 735 ILCS 5/2-102(a) . . .” (Compl. at ¶ 16.) But courts

have considered – and rejected – the assertion that appointment of an agent satisfies Section

1400(b)’s requirement that a defendant has a regular and established place of business in the




2 As noted above, Paragraph 16 of the Complaint purports to identify the alleged bases for venue
in this District pursuant to 28 U.S.C. § 1400(b).


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district. Specifically, in granting defendant’s motion to dismiss for improper venue under Federal

Rule of Civil Procedure 12(b)(3), the BillingNetwork Patent court found that “[i]t is likewise

irrelevant that, incident to Defendant’s registration to do business in Illinois, it has appointed an

agent for service of process in this state; that also has no bearing on whether Defendant maintains

a physical place of business in this District.” 2017 WL 5146008, at *2.3

IV.      CONCLUSION

         Univar does not reside in the Central District of Illinois and Plaintiffs have not alleged any

facts demonstrating that Univar engaged in any purported acts of patent infringement in the Central

District of Illinois.   For these reasons, Univar respectfully requests that the Court dismiss

Plaintiffs’ claim against Univar pursuant to Federal Rule of Civil Procedure 12(b)(3).

Dated:    October 1, 2018                       Respectfully submitted,

                                                 /s/ Matt D. Basil
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3 Although not addressed in the present motion, Univar does not concede, and expressly reserves
the right to challenge, the final assertion in Paragraph 16 of the Complaint that “Univar maintains
a regular and established place of business within this judicial district.” (Compl. at ¶ 16.) As
noted above, in order to establish venue in this District, Plaintiffs carry the burden of demonstrating
both: (a) Univar committed acts of infringement in the District, and (b) Univar has a regular and
established place of business in the District. TC Heartland, 137 S.Ct. at 1516-17; Shure, 2018 WL
3032851, at *1. Plaintiffs’ failure to demonstrate that Univar committed acts of infringement in
the Central District of Illinois, alone, mandates dismissal of the Complaint. TC Heartland, 137
S.Ct. at 1516-17; Shure, 2018 WL 3032851, at *1.


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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 1, 2018, I caused true and correct copies of DEFENDANT

UNIVAR USA, INC.’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO

DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(3) to be served on all counsel of record via the

Court’s ECF system.

                                                        /s/ Matt D. Basil




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